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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                    CASE NUMBER:

                                                                               CR 19-642-VAP
                                              PLAINTIFF(S)
                             v.
IMAAD SHAH ZUBERI,                                                    NOTICE OF MANUAL FILING
                                                                            OR LODGING
                                            DEFENDANT(S).

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      Administrative Record
      Other:




December 16, 2019                                             Daniel J. O'Brien
Date                                                          Attorney Name
                                                              United States of America
                                                              Party Represented

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